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06
                                UNITED STATES DISTRICT COURT
07                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
08

09 UNITED STATES OF AMERICA,              )
                                          )
10               Plaintiff,               )             Case No. CR06-0186-JCC-JPD
                                          )
11         v.                             )
                                          )             DETENTION ORDER
12   LAKSMI McKENNA WHITE,                )
                                          )
13               Defendant.               )
     ____________________________________ )
14
     Offenses charged:
15
            Count 1:      Possession with Intent to Distribute Marijuana in violation of U.S.C.
16
     §§ 841(a)(1) and 841(b)(1)(D).
17
     Date of Detention Hearing: May 10, 2006.
18
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
20
     the following:
21
           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            (1)       When arrested and charged with the instant offense, defendant was serving a
23
     sentence of supervised release from a previous offense and conviction on or about June 21, 2002.
24
            (2)       Defendant has stipulated to detention, but reserves the right to contest her
25
     continued detention if there is a change in circumstances.
26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01          (3)    There are no conditions or combination of conditions other than detention that

02 will reasonably assure the appearance of defendant as required.

03          IT IS THEREFORE ORDERED:

04          (1)    Defendant shall be detained pending trial and committed to the custody of the

05                 Attorney General for confinement in a correction facility separate, to the extent

06                 practicable, from persons awaiting or serving sentences or being held in custody

07                 pending appeal;

08          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

09                 counsel;

10          (3)    On order of a court of the United States or on request of an attorney for the

11                 government, the person in charge of the corrections facility in which defendant

12                 is confined shall deliver the defendant to a United States Marshal for the purpose

13                 of an appearance in connection with a court proceeding; and

14          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

15                 counsel for the defendant, to the United States Marshal, and to the United States

16                 Pretrial Services Officer.



                                                         A
17                 DATED this 1st day of June, 2006.

18
                                                         JAMES P. DONOHUE
19                                                       United States Magistrate Judge
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     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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